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5
     Attorney for Defendant
     FRED PINEDA
6
                               IN THE UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF CALIFORNIA
7

8

9    UNITED STATES OF AMERICA,                        )       No. CR-S-11-134 JAM
                                                      )
                                                      )
10             Plaintiff,                             )       STIPULATION REGARDING
11
                                                      )       EXCLUDABLE TIME PERIODS
     v.                                               )       UNDER SPEEDY TRIAL ACT;
                                                      )       FINDINGS
12
     JUAN LOPEZ ALVARADO, et al.,                     )
                                                      )       Date: April 9, 2013
13
                                                      )       Time: 9:45 a.m.
               Defendants.                            )       Judge: Honorable John A. Mendez
14
                                                      )
                                                      )
15
                                                      )
16
               The United States of America through its undersigned counsel, Michael M. Beckwith,
17
     Assistant United States Attorney, together with counsel for defendant Estanislao Garcia, Arturo
18

19   Hernandez, Esq., counsel for defendant Fred Pineda, John R. Manning, Esq., counsel for

20   defendant Cesar Rafael Torres, Christopher R. Cosca, Esq., and counsel for defendant Jose
21
     Mario Medrano, Matthew M. Scoble, Esq., hereby stipulate the following:
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          1. By previous order, this matter was set for status conference on March 5, 2013.
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24
          2. By this stipulation, defendants now move to continue the status conference until April 9,

25   2013 at 9:45 a.m. and to exclude time between March 5, 2013 and April 9, 2013 under the Local
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     Codes T-2 (unusual or complex case) and T-4 (to allow defense counsel time to prepare).
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          3.   The parties agree and stipulate, and request the Court find the following:
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                                                          1
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     a. This is a complex case, including 5,000 pages of discovery as well as three discs of
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2       recorded phone calls (containing hundreds of recorded conversations), and six co-

3       defendants (a total of 13 Indicted).   Some defendants are currently incarcerated at
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        the Butte County Jail in Oroville, California; approximately 120 miles roundtrip from
5
        downtown Sacramento.
6

7
     b. Counsel for the defendants need additional time to review the discovery; review

8       investigation reports; discuss USSG calculations with defendants; and, review
9       proposed plea agreements.
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     c. Counsel for defendants believe the failure to grant a continuance in this case would
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        deny defense counsel reasonable time necessary for effective preparation, taking into
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13      account the exercise of due diligence.

14   d. The Government does not object to the continuance.
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     e. Based on the above-stated findings, the ends of justice served by granting the
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        requested continuance outweigh the best interests of the public and the defendants in
17
        a speedy trial within the original date prescribed by the Speedy Trial Act.
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19   f. For the purpose of computing time under the Speedy Trial Act, 18 United States Code

20      Section 3161(h)(7)(A) within which trial must commence, the time period of March
21
        5, 2013 to April 9, 2013, inclusive, is deemed excludable pursuant to 18 United States
22
        Code Section 3161(h)(7)(A) ) and (B)(ii) and (iv), corresponding to Local Codes T-2
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24
        and T-4 because it results from a continuance granted by the Court at defendant’s

25      request on the basis of the Court’s finding that the ends of justice served by taking
26      such action outweigh the best interest of the public and the defendant in a speedy
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        trial.
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                                               2
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     4. Nothing in this stipulation and order shall preclude a finding that other provisions of the
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2       Speedy Trial Act dictate that additional time periods are excludable from the period within

3       which a trial must commence.
4
     IT IS SO STIPULATED.
5

6    Dated: February 27, 2013                                     /s/ Arturo Hendandez
                                                                  ARTURO HERNANDEZ
7                                                                 Attorney for Defendant
8
                                                                  Estanislao Garcia

9    Dated: February 27, 2013                                      /s/ John R. Manning
                                                                  JOHN R. MANNING
10                                                                Attorney for Defendant
11
                                                                  Fred Pineda

12   Dated: February 27, 2013                                      /s/ Matthew M. Scoble
                                                                  MATTHEW M. SCOBLE
13
                                                                  Attorney for Defendant
14                                                                Jose Mario Medrano

15   Dated: February 27, 2013                                     /s/ Christopher R. Cosca
                                                                  CHRISTOPHER R. COSCA
16
                                                                  Attorney for Defendant
17                                                                Cesar Rafael Torres

18
     Dated: February 28, 2013                                     Benjamin B. Wagner
19
                                                                  United States Attorney
20
                                                                  by:/s/ Michael M. Beckwith
21                                                                MICHAEL M. BECKWITH
                                                                  Assistant U.S. Attorney
22

23
                                       ORDER
24
             IT IS SO FOUND AND ORDERED this 28th day of February, 2013.
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27                                                        /s/ John A. Mendez____________
                                                          John A. Mendez
28                                                        United States District Court Judge


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